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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, et al.,

Plaintiffs,

V. CIVIL ACTION NO. 1:18-cv-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

AFFIDAVIT OF JACQUELINE
Defendants. TIEMA-MASSIE

 

 

Pursuant to 28 U.S.C. § 1746(2), I, Jacqueline Tiema-Massie, hereby declare as follows:

1. My name is Jacqueline Tiema-Massie. I am over the age of eighteen and have
personal knowledge of all the facts stated herein. I make this Declaration in connection with State
of New York, et al., v. United States Department of Commerce, et al.

2. I am the Director of Planning, Research and Development as well as the Director
of Grants Management for the Chicago Department of Family and Support Services (“DFSS”). I
have served in this position since December 2013. I direct the preparation of complex federal,
state, local, and private human service grants worth over $315 million annually, which represents
more than 80% of DFSS’s budget. Additionally, I supervise a team of grant project managers
and planners that are responsible for the development and submission of the Department’s 30
reoccurring grants; for identifying new funding sources to support DFSS programs and new
initiatives; preparing key reports, plans, and assessments associated with DFSS grants; and for
the project management of the Community Services Block Grant (““CSBG”) program ($11.1
million),

3. Prior to DFSS, I served as the Director of Planning, Research and Development

for the Chicago Department of Public Health, Bureau of Public Health Preparedness and
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Emergency Response, where I was responsible for the development and submission of the Public
Health Emergency Preparedness Grant ($10 million) and the Hospital Preparedness Program
Grant ($3 million) programs. I was also responsible for emergency preparedness planning,
performance management, and planning activities during an emergency preparedness response.

4, In regards to the City of Chicago budget, I am involved with the Department’s
preparation and submission of the annual appropriation ordinance, specifically the 925 — Grant
Funds table, which includes all anticipated DFSS grants for the upcoming fiscal year, including
carryover funds. For 2018, the total DFSS 2018 anticipated funds ($309,419,194) and carryover
funds ($6,862,000) totaled $316,281,194. My team is responsible for securing these funds to
support both the Department’s direct services, performed through the City’s Community Service
Centers and Senior Regional and Satellite Centers, and contracted delegate agency services that
support citywide human service delivery across multiple DFSS program models and service
areas, including childcare, youth development, workforce, homeless, human, domestic violence,
and senior services.

5. DFSS receives multiple federal and federal-state pass-through grants to support
the City of Chicago’s human services delivery system. The following formula-driven grants are
determined, in whole or at least in part, by population information collected by the Census:
Federal grants - Community Development Block Grant; Emergency Solutions Grant; Federal-
state pass-through grants — Area Plan on Aging Grants (federal and state); and the Community
Services Block Grant.

6, For the programs identified above, information gathered during the decennial
census is used by federal funding agencies to determine funding levels to states and local

jurisdictions. These federally originated grants support communities based on census derived
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data that enumerates the total population counts and data about poverty, income, sex, and
race/ethnicity.

7. Approximate grant amounts are as follows: Community Development Block
Grant (“CDBG”) - $25,000,000 (this is DFSS’s portion; the total for the City of Chicago is
$72,100,000); Emergency Solutions Grant (“ESG”) - $6,500,000; Area Plan on Aging Grant
(Federal) - $13,000,000; Area Plan on Aging Grant (State) - $8,000,000; and the Community
Services Block Grant (“CSBG”) - $11,050,000. CDBG, ESG, and CSBG provide support for all
age groups, and the Area Plan on Aging (federal and state) funding supports individuals aged 60
and over.

8. The CDBG program works to address a wide range of community needs. The
City of Chicago receives annual allocations from CDBG on a formula basis, and this formula
takes into account the current population of the City of Chicago as well as the number of
Chicagoans in poverty. In 2017, these programs provided services for over 696,000 families
citywide.

0: DFSS CDBG funds are used to operate homeless shelters and supportive service
programs for people and families who are experiencing homelessness or are at imminent risk of
homelessness so that they attain or maintain safe and secure housing; to provide emergency food
supplies to at-risk populations; to conduct Intensive Case Advocacy for seniors which includes
in-home assessments, case advocacy and support, and on-going monitoring to vulnerable and
socially isolated seniors and to provide home-delivered meals to seniors; to provide job readiness
services, career counseling, vocational skills training, job placement assistance, and other

workforce services; and to provide assistance and advocacy to those who have been victims of
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domestic violence, including counseling, case management, legal services, and supervised
visitation and safe exchange.

10... The ESG program provides services to people and families experiencing
homelessness. In 2017, ESG funding provided services for over 17,800 families throughout the
City of Chicago. Locally, ESG funds are used to engage people and families experiencing
homelessness; improve the number and quality of emergency shelters; support shelter operations;
provide essential services to shelter residents; rapidly re-house people and families experiencing
homelessness; and prevent families and individuals from becoming homeless.

11. | The CSBG provides funds to alleviate the causes and conditions of poverty within
communities. Locally, the Chicago Department of Family Support Services (DFSS) leads the
charge to reduce poverty, in part, by providing CSBG services and supports to Chicago's most
vulnerable citizens. This is accomplished by delivering social services to residents through
partnerships with a network of contracted/community-based (delegate) agencies and directly
through DFSS. Through the CSBG contracted/community-based delegate agency network, DFSS
provides the following services: Homeless Services, which provide support services for homeless
persons, homeless street outreach, assessment, and counseling; and Workforce Services,
which provide economic opportunities for low-income persons who are unemployed, job
readiness services, career counseling, vocational skills training, job placement assistance, re-
entry assistance, and other workforce services. Through directly administered programs DFSS
provides the following services: DFSS Community Service Center (CSC) services,
which provide client intervention and stabilization services, case work, case management,
information and referral, emergency food referrals, transportation assistance, financial assistance

program referrals and multiple co-located services (including veteran services, public benefits
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assessments, educational workshops, etc.); and The Scholarship Program, which provides post-
secondary educational scholarships to CSBG eligible clients in an effort to achieve economic
security and stability. In addition, the DFSS Community Service Centers provide emergency
response to victims of disasters, such as people experiencing weather related problems. In
instances of extreme (heat/cold) weather conditions, the facilities also serve as Warming and
Cooling Centers to those in need. When the State of Illinois receives CSBG funds from the
federal government, the state distributes 90% of these funds to the Community Action Agency
(“CAA”) Network, which includes local governments such as the City of Chicago. The
distribution of these funds to the Illinois CAA Network is based solely upon a formula utilizing a
proportion of the state’s poverty rate, which is derived from the Census. In 2017, the DFSS
CSBG programs, through DFSS direct and delegate agencies, provided services to over 26,600
families throughout Chicago.

12. The Area Plan on Aging grants (federal and state) provide funding to maximize
the quality of life of people aged 60 years and over and support a wide range of senior services
including multipurpose senior centers, nutritional aid (home delivered meals and congregate
dining), and caregiver and ombudsman services. The City of Chicago has been designated as an
Area Agency on Aging by the State of Illinois Department on Aging (“IDOA”) and is
responsible for coordinating these community-based services to help those age 60 years and
older stay as independent as possible in their homes and communities and avoid hospitalization
or nursing home care.

13. The Area Agencies on Aging, including the City of Chicago, receive funding
from IDOA based on a formula which takes into consideration the number of older citizens and

elderly minorities in the area, as well as the number of seniors living in poverty, in rural areas,
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and alone. In order for a particular factor to be included in the funding formula, it must, among
other things, be based on data which is derivable from the Census. Specifically, the funding
formula factors are weighted as follows: the number of the state’s population age 60 years and
older comprises 41% of the total; the number of the state’s population age 60 years and older, at
or below the poverty threshold constitutes 25% of the total; the number of the state’s population
age 60 years and older residing in rural areas comprises 9% of the total; and the final 25% is
based on the state’s elderly population evidencing indicators of greatest social need. This final
25% is amalgamated as follows: those who are at least 60 years of age and a member of a
minority group make up 10%; those at least 60 years of age and who live alone constitute 7.5%;
and the number of the state’s population age 75 years and over comprise 7.5%. In 2017, the
DFSS Area Plan on Aging grants served over 230,000 seniors citywide.

14. An accurate count of the populations served through the aforementioned programs
is extremely important to serving the basic human needs of these populations, including housing,
food, education, employment and income, and other needs. Many of these populations are
extremely vulnerable and are from some of Chicago’s poorest neighborhoods,

13. Reducing funding to any of these programs puts these populations at greater risk
to a wide range of vulnerabilities such as increased poverty, homelessness, substandard housing,
hunger/food insecurity, unemployment, underemployment, lack of job skills training, social
isolation, lack of access to higher education, exposure to intimate partner violence, and exposure
to extreme weather. Reduced funding will also negatively impact DF'SS’s contracted/community-
based delegate agencies and their staff that provide these services and rely on this funding to

successfully operate and manage their community programs. Based on similar analyses I have
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conducted in the past to address state budget concerns, these outcomes are very likely to occur as
a result of reduced funding.

16. DFSS receives multiple federal, federal-state pass-through, state, and local
funding to support its human services delivery in the City of Chicago. Some of DFSS’s largest
federal and federal-state pass-through grants, including CDBG, ESG, CSBG, and Area Plan on
Aging funding would significantly be impacted as a result of a reduction in funding due to a
census miscount.

17. In addition to the service population being affected, DFSS administrative and
program staff associated with this funding would be impacted. Delegate agencies which heavily
rely on government support to operate programs, including their staff and operations, and the
communities in which these organizations are located would all be negatively impacted.

18. Additionally, DFSS’s direct services would be impacted. For example, a reduction
in funding to the CSBG would significantly impact low-income families. CSBG supports,
among many other things, the operation of six DFSS Community Service Centers to assist
individuals and families in need to access a wide range of resources, from shelter, food, and
clothing to domestic violence assistance, drug rehabilitation, job training, and prison re-entry
services. The Area Plan on Aging grants support the operations of six DFSS Regional and 15
Satellite Senior Centers. DFSS Senior Centers offer a variety of social, educational, cultural, and
recreational activities for seniors and their informal caregivers. Many seniors utilize center
resources for life enrichment activities, computer learning classes, internet access, fitness
programming, congregate dining, caregiver services, and much more. Any reduction in funding
could negatively impact these DFSS Centers that are integral to many Chicago neighborhoods,

persons and families.
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19. Chicago is a very diverse and multi-ethnic city, with 560,000 foreign-born
residents from over 140 countries and more than 100 languages spoken. A strong and accurate
census count is extremely important to ensuring that the populations served by federal and
federal-state pass-through funding that the City receives will continue to receive support for the
vital services that meet their basic human needs, such as food, shelter, quality child care,
employment and training, safety planning, and other services as described above. A Census
miscount would directly reduce and negatively impact the grant funding that the City receives.

20. The formula-driven grants that DFSS receives are vital and instrumental in
providing direct and contracted services to hundreds of community organizations that provide a
wide range of services to all Chicago residents, especially the most vulnerable, including
immigrants. With such a substantial amount of federal dollars determined by Census data,
multiple levels of the local safety net would be impacted. This could extend to other areas such
as access to critical medical care, cash and nutrition assistance programs provided by state
agencies through federal formula funding, as well as local housing assistance programs. This
could further intensify Chicago residents’ need for local services in response to crises, while a
reduction in funding would directly impact DFSS and its contracted partners’ ability to provide
assistance to all Chicago residents. Any reduction in funding would be devastating to the local
human services infrastructure — to clients, non-profit and community-based organizations, and
most importantly to the at-risk populations that are served.

I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and
correct.

Executed on this 2.2 day of October, 2018 f T_ -

Jacqueline Tiema-Massie

Director of Planning, Research and Development
Director of Grants Management

Chicago Department of Family & Support Services

 

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